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 1                                                        HONORABLE MICHELLE L. PETERSON

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NANNETTE BASA, an individual,                        Case No. 2:21-cv-00754 MLP
 9
                        Plaintiff,                        DECLARATION OF EMMA
10                                                        KAZARYAN IN SUPPORT OF
              v.                                          DEFENDANT BRAND SHARED
11                                                        SERVICES, LLC’S RESPONSE IN
     BRAND SHARED SERVICES, LLC, a                        OPPOSITION TO PLAINTIFF’S
12   Delaware corporation,                                MOTION FOR SANCTIONS FOR
                                                          SPOLIATION OF EVIDENCE
13                      Defendant.
                                                          HEARING DATE:
14                                                        October 7, 2022
15
              I, Emma Kazaryan, hereby declare:
16
              1.    I am one of the attorneys for Defendant Brand Shared Services, LLC (“Brand”) in
17
18   the above-captioned matter. I am over the age of eighteen and competent to testify in this matter.

19   I base this declaration on my personal knowledge and on my review of the file maintained by my
20   law firm in connection with this matter. That file is kept in the ordinary course of business and is
21
     timely and regularly updated.
22
              2.    In the course of discovery in this case, Plaintiff has propounded five sets of
23
     discovery requests comprised of 14 interrogatories and 19 requests for production.
24

25

26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF
     DEFENDANT’S OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 1
                                                                                      SEYFARTH SHAW LLP
     (CAUSE NO. 2:2-CV-00754 MLP)                                                       999 Third Avenue
                                                                                             Suite 4700
                                                                                     Seattle, WA 98104-4041
                                                                                          (206) 946-4910
     87605150v.2
             Case 2:21-cv-00754-MLP            Document 40       Filed 10/03/22     Page 2 of 24




 1            3.     In response to Plaintiff’s extensive discovery requests, Brand has produced
 2   62,456 pages of documents.
 3
              4.     Brand has also cooperated with the seven depositions Plaintiff has already taken
 4
     in this case.
 5
              5.     In addition to the depositions that have already been taken, Plaintiff is seeking
 6

 7   five additional depositions (including a multi-topic CR 30(b)(6) deposition). Brand has agreed to

 8   allow Plaintiff to take 12 depositions in this case without additional motion practice.

 9            6.     At Plaintiff’s counsel’s request, we have had at least nine discovery conferences
10
     in the course of this case:
11
                              January 6, 2022
12                            February 23, 2022
                              April 18, 2022
13
                              June 7, 2022
14                            July 27/July 28, 2022 (continuation of conference from previous day)
                              August 5, 2022
15                            August 30, 2022
                              September 8, 2022 (conference immediately following deposition)
16
                              September 27, 2022
17
              7.         In addition to the telephonic discovery conferences, we have engaged in detailed
18
     substantive email discussion about Plaintiff’s discovery requests. Attached to my declaration as
19

20   Exhibit A is a detailed email I sent to Plaintiff’s counsel following a discovery conference

21   explaining why Plaintiff’s requests were objectionable and, in the interest of resolving the

22   dispute and avoiding a motion, supplementing certain answers as requested by Plaintiff’s
23   counsel.
24
              8.     The discovery Plaintiff has requested (and Brand has provided) in this matter has
25
     been disproportionate to the needs of this case. Plaintiff was unemployed for about a year before
26
     DECLARATION OF EMMA KAZARYAN IN OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 2
                                                                                       SEYFARTH SHAW LLP
     (CAUSE NO. 2:21-CV-00754 MLP)                                                       999 Third Avenue
                                                                                              Suite 4700
                                                                                      Seattle, WA 98104-4041
                                                                                           (206) 946-4910
     87605150v.2
             Case 2:21-cv-00754-MLP          Document 40        Filed 10/03/22     Page 3 of 24




 1   she fully mitigated her damages. During that time, she did contract work that offsets her
 2   economic damages. Attached to my declaration as Exhibit B are true and correct copies of
 3
     Plaintiff’s discovery responses which establish that she has fully mitigated her economic
 4
     damages and which discuss the contract work she did during her period of unemployment.
 5
              9.     In addition, there is evidence that Plaintiff enjoyed her period of unemployment
 6

 7   and took her time finding a new job: she bragged that she was not in a rush to find a job because

 8   of how easy it was for her to collect unemployment in the State of Washington and she told

 9   friends she enjoyed being (in her words) a “trophy wife.” Attached to my declaration as Exhibit
10
     C are true and correct copies of those text messages.
11
              10.    On September 7, 2022, Plaintiff’s counsel took the deposition of Michelle Roman.
12
     Attached hereto as Exhibit D are true and correct copies of excerpts from that deposition.
13
              I declare under penalty of perjury under the laws of the United States of America that the
14

15   foregoing is true and correct to the best of my knowledge.

16            Signed this 3rd day of October, 2022 in Seattle, Washington.
17
                                                   s/ Emma Kazaryan
18
                                                   Emma Kazaryan, WSBA No. 49885
19

20

21

22

23

24

25

26
     DECLARATION OF EMMA KAZARYAN IN OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 3
                                                                                      SEYFARTH SHAW LLP
     (CAUSE NO. 2:21-CV-00754 MLP)                                                      999 Third Avenue
                                                                                             Suite 4700
                                                                                     Seattle, WA 98104-4041
                                                                                          (206) 946-4910
     87605150v.2
             Case 2:21-cv-00754-MLP          Document 40       Filed 10/03/22      Page 4 of 24




 1                                    CERTIFICATE OF SERVICE
 2            I hereby declare that on this 3rd day of October, 2021, I caused a copy of Declaration of

 3   Emma Kazaryan in Support of Defendant Brand Shared Services, LLC’s Response in

 4   Opposition to Plaintiff’s Motion for Sanctions to be electronically filed with the Court using

 5   ECF-Filing system which will send notification of such filing to the following:

 6            Alexander J. Higgins
 7            Law Offices of Alex J. Higgins
              2200 6th Avenue, Ste. 500
 8            Seattle, WA 98121
              P: (206) 340-4856
 9            alex@alexjhiggins.com
10            Cody Fenton- Robertson
              Bean Law Group
11
              2200 6th Avenue, Ste. 500
12            Seattle, WA 98121
              P: (206) 5220618
13            cody@beanlawgroup.com
14
                                                   s/ Valerie Macan
15                                                 Valerie Macan
16

17
18

19

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21

22

23

24

25

26
     DECLARATION OF EMMA KAZARYAN IN OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 4
                                                                                     SEYFARTH SHAW LLP
     (CAUSE NO. 2:21-CV-00754 MLP)                                                     999 Third Avenue
                                                                                            Suite 4700
                                                                                    Seattle, WA 98104-4041
                                                                                         (206) 946-4910
     87605150v.2
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                         Exhibit A
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Kazaryan, Emma J.

From:                              Kazaryan, Emma J.
Sent:                              Tuesday, August 2, 2022 3:31 PM
To:                                'Alexander Higgins'; 'Cody Fenton-Robertson'
Cc:                                McFarland, Helen M.; Macan, Valerie
Subject:                           RE: Basa v. Brand Plaintiff's Third and Fourth Set of Discovery Requests: CR 37
Attachments:                       BRAND062455.pdf

Categories:                        Important


Good afternoon Alex,

Thank you for our calls last week. As we discussed, and with the additional information Brand has provided or agreed to
provide, I believe Brand has fully responded to Ms. Basa’s discovery requests and that a motion to compel is not
necessary. I address each of your points in further detail below.

Interrogatory No. 8 and RFP No. 9: Plaintiff’s alleged performance issues.
You have asked Brand to identify what performance issues “influenced” the termination decision. Brand provided a
complete answer to this interrogatory: the answer refers back to Ms. Riapos’s deposition testimony and documents
previously produced in the course of discovery.

During her deposition, Ms. Riapos specifically testified at length about the performance issues that informed her
decision to identify Ms. Basa for layoff (for example, please see her deposition transcript at 35:18-39:20). In addition, in
the course of discovery, Brand has produced numerous emails that pertain to the issues Ms. Riapos discussed during her
deposition (in fact, based on some of the questions you asked during Ms. Riapos’s decision, I suspect you have reviewed
these emails). Also, in the answer to the very next interrogatory in this set (Interrogatory No. 9), Brand provided a
detailed, itemized list of specific performance issues that were called to Ms. Riapos’s attention and that she testified
informed her decision to identify Ms. Basa for layoff.

As I said during our call, I think Brand has provided a complete answer here. The duplicative nature of Ms. Basa’s
discovery requests is unduly oppressive and unnecessarily drives up defense costs.

However, in the interest of resolving this dispute, in addition to the evidence and documents we cited, we identify:

               Late payments that took a long time to resolve;

               Lack of work product (including, without limitation, missing deadlines);

               Combative communications;

               In March 2020, after one of Brand’s third-party partners escalated a non-payment issue to Brand’s chief
        information officer Jay Fisher, who reported it to Ms. Riapos. He revealed that when a contractor inquired
        about a payment he had not received, Ms. Basa sent a curt and dismissive email response;

               While trying to resolve non-payment issue, Heather Morrison, Brand’s Director of IT and Finance, had
        trouble getting help from Ms. Basa. Ms. Morrison emailed Mr. Fisher stating, “Just for your information—
        Nannette was not helpful in the last email I sent—she kept telling me not to worry about it…”




                                                             1
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                 In approximately April 2020, Ms. Riapos received a complaint from Jerry Dolly that Ms. Basa failed to
        help fill a role that he requested help with back in January 2020. Due to Ms. Basa’s failure, Ms. Riapos had to
        step in to help fill the role.

              In June 2020, Mike Krach (a branch manager) complained to HR about persistent issues working with
        Ms. Basa. He wrote:

                My experience with Nannette has been nothing but failure, Over the past 3 years every time she
                has been involved with an employee placement/search for my region has come up with nothing. I
                do not recall my region hiring anyone that she has referred to my region (I might be wrong but
                that is to the best of my memory).

Interrogatory No. 9. Performance issues reported to Riapos.
Thank you for withdrawing a request for a further response to Interrogatory No. 9. I think Ms. Riapos was clear during
her deposition that each of the issues identified in response to this interrogatory (without limitation) informed her
decision to identify Ms. Basa for layoff.

Interrogatory No. 10: Compensation Paid to NextSource.
You argue that because NextSource “replaced Ms. Basa,” you are entitled to know what Brand paid to the
vendor. However, that is not a complete or accurate characterization of Brand’s explanation for the reduction-in-force
or Ms. Basa’s layoff. The vendor NextSource is not an individual employee. It is not a “replacement” where you swap
out one employee for another.

Further, as I explained during our call, and as Ms. Riapos testified during her deposition, the decision to retain a
managed service provider (ultimately, NextSource) was made many months before the decision to layoff Ms.
Basa. Brand has not claimed that it terminated Ms. Basa and turned to NextSource because it resulted in a cost savings
(this would not be an apples-to-apples comparison). In fact, during her deposition, Ms. Riapos testified that she made
the decision to hire a managed service provider based on her experience and knowing how difficult it is to manage a
contingent-labor program well and her assessment of the change management that would go into handling this work
well internally (for example, please see 64:21-65:12 of Ms. Riapos’s deposition); she did not mention cost-savings as the
impetus for the decision to hire NextSource.

We do not see how or why the contract of an outside vendor is relevant to this case. However, in the interest of
resolving this dispute, we can provide the following information: in 2021, Brand paid $94,666.64 to NextSource.

RFP No. 11: Personnel files of retained employees.
During our call, you agreed to limit your request for records that pertain to Nicole Norris and Ryan Wilson’s performance
or job duties (such as a job application, job description, performance reviews, and performance write-ups). With this
limitation, we will produce any non-privileged responsive records subject to the parties’ protective order (please see
attached).

RFP No. 12. Job Descriptions.
As we discussed, Brand does not have job descriptions for the roles held by Ms. Basa, Ms. Norris, and Mr. Wilson.

RFP No. 13: VNDLY Cost Savings.
As with Interrogatory No. 10, your request for information about Brand’s software Brand uses is irrelevant and has no
bearing on the claims or defenses in this case.

That being said, in the voluminous records that have been produced in response to Ms. Basa’s previous sets of discovery
requests, Brand has produced responsive documents. In fact, you asked Ms. Riapos about some of these documents
during her deposition.



                                                            2
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When I pointed this out during our call, you suggested I should identify the previously-produced responsive documents
by Bates number. Although I remember seeing documents that are responsive to this request when I was reviewing
them pursuant to a different request for production, I was not making note of the Bates numbers for those documents
because (i) I don’t think they are relevant, and (ii) because this Request for Production No. 13 (which was propounded
later) was not on my radar.

It would be extraordinarily time-consuming, onerous, and disproportionate to the needs of this case for me to re-review
the tens of thousands of pages of documents produced to identify the Bates numbers for you. Also, because you know
precisely what you are looking for and because you are currently reviewing these documents anyway, you are in a
better position than I am to identify the Bates numbers/responsive documents.

RFP No. 14: Open Requisition Spreadsheet.
We can confirm that we have not seen any reports with the column you describe in RFP 14.

Interrogatory No. 11: Discrimination and Favoritism.
During our call on Thursday 07/28, you said you doubted this request yield helpful information and withdrew your
concerns about Brand’s response.

Interrogatory No. 12: EEO Compliance.
The relevant deposition testimony by Karen Riapos (starting on p. 56):

        Q· · And it says, "Always post to Direct Employers,
        17· ·300-plus sites, for EEO compliance purposes."
        18· · · · · · ·Do you know what that means?
        19· · · · A· · Yeah.· Direct Employers is our job aggregator.
        20· ·So when we post jobs there, it posts to our careers page
        21· ·and over 300 sites around the country.
        22· · · · Q· · And do you know what is meant by "for EEO
        23· ·compliance purposes"?
        24· · · · A· · Yeah.· We use Direct Employers to manage, to
        25· ·make sure we're posting jobs in places that will get
        57
        ·1· ·underrepresented people for candidates.
        ·2· · · · Q· · And is that requirement to do?
        ·3· · · · A· · Yes, it is.
        ·4· · · · Q· · And who requires that?
        ·5· · · · A· · We're a federal contractor, so the federal
        ·6· ·government.
        ·7· · · · Q· · Why didn't you post the recruiting positions
        ·8· ·for which you hired Nicole Norris and Ryan Wilson to the
        ·9· ·Direct Employers site?
        10· · · · A· · Because at the time, when we would post to
        11· ·Direct Employers, candidates would send us an email with
        12· ·their resume.· And since I had already reached out to
        13· ·Ryan and Nicole directly, there was no reason for them to
        14· ·apply to the position.
        15· · · · Q· · Right.· But for EEO compliance purposes, why
        16· ·didn't you get -- advertise the position in a broad area
        17· ·of the country?
        18· · · · A· · Because we already had identified two
        19· ·candidates, who I had previously worked


                                                           3
                             Case 2:21-cv-00754-MLP   Document 40     Filed 10/03/22       Page 9 of 24
We are asking about her testimony that Brand was required to follow certain EEO requirements in hiring. What you are
asking for here is different than what the interrogatory calls for. Brand has provided a complete response to
Interrogatory No. 12.

Interrogatory No. 13: Brand’s Hiring Process.
Between Ms. Riapos’s deposition (see, for example, 21:25-22:15 of her deposition transcript) and Brand’s responses
(including, if applicable, supplemental responses) to Interrogatory Nos. 5 and 6 and Request for Production No. 5, this is
yet another interrogatory that has been answered in full and is duplicative.

You contend that Brand’s answer was not “adequate” and argue that the answer Ms. Riapos provided at her deposition
demonstrates that she “hand-picked people who she wanted to hire…” Whether Brand’s hiring process was adequate
and whether the answers Ms. Riapos provided are adequate are two different questions. Even if you think Brand’s
hiring process for these two positions was inadequate, Brand has already provided a complete response to this
interrogatory. Further, as expressed in our objections, Brand’s hiring process is not an issue in this lawsuit. Basa
alleges discrimination in connection with her layoff, not her hiring (or Brand’s alleged failure to hire her).

RFP No. 18: Personnel Records of Comparators.
Based on our discussion, I understand that you are limiting your requests for personnel records to Nicole Norris and
Ryan Wilson. Thus, this request is identical to RFP No. 11, which you have agreed to limit to Ms. Norris and Mr. Wilson’s
performance or job duties (such as a job application, job description, performance reviews, and performance write-
ups). As stated above, we agree to produce non-privileged responsive records related to Mr. Norris and Mr. Wilson.

With this, it is my understanding that the concerns you raised about Brand’s discovery responses have been addressed
in full and there are no outstanding issues. If you wish to address anything else, please do not hesitate to contact me.

Best,
Emma



From: Kazaryan, Emma J.
Sent: Monday, August 1, 2022 2:40 PM
To: 'Alexander Higgins' <alex@alexjhiggins.com>; Cody Fenton-Robertson <cody@beanlawgroup.com>
Cc: McFarland, Helen M. <hmcfarland@seyfarth.com>; Macan, Valerie <vmacan@seyfarth.com>
Subject: RE: Basa v. Brand Plaintiff's Third and Fourth Set of Discovery Requests: CR 37


Good afternoon Alex,

I am working on preparing a response on the issues discussed during the CR 37 conference and expect to have that to
you by the end of the day tomorrow. I am also following up on the deposition date.

Best,
Emma

From: Alexander Higgins <alex@alexjhiggins.com>
Sent: Monday, August 1, 2022 10:26 AM
To: Kazaryan, Emma J. <ekazaryan@seyfarth.com>; Cody Fenton-Robertson <cody@beanlawgroup.com>
Cc: McFarland, Helen M. <hmcfarland@seyfarth.com>; Macan, Valerie <vmacan@seyfarth.com>
Subject: Re: Basa v. Brand Plaintiff's Third and Fourth Set of Discovery Requests: CR 37

ZjQc mQR YFpfptBannerStart




                                                             4
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                         Exhibit B
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1

2                                                      HONORABLE MICHELLE L. PETERSON

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5

6
                                UNITED STATES DISTRICT COURT
7                         FOR THE WESTERN DISTRICT OF WASHINGTON

8
    NANNETTE BASA, an individual,                          Case No. 2:21-cv-00754 MLP
9
                                   Plaintiff,              DEFENDANT’S FIRST SET OF
1                                                          INTERROGATORIES AND REQUESTS
    v.                                                     FOR PRODUCTION TO PLAINTIFF
                                                           WITH ANSWERS AND OBJECTIONS
0   BRAND SHARED SERVICES, LLC, a                          THERERTO
    Delaware corporation,
1
                                   Defendant.
1
             Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure, Defendant Brand
1
    Shared Services, LLC (“Brand”), by and through its undersigned attorneys of record, requests
2   that that Plaintiff Nannette Basa answer the following interrogatories and produce and permit

1   Brand or its representative to inspect, copy, test, or sample the items identified in the requests

3   below.

                                                DEFINITIONS
1
             The following definitions apply to these Interrogatories and Requests for Production:
4

1   DEFENDANT’S FIRST SET OF INTERROGATORIES
    AND REQUESTS FOR PRODUCTION TO PLAINTIFF                                      Law Offices of Alex J. Higgins
    WITH ANSWERS AND OBJECTIONS THERETO - 1                                          2200 6th Ave, Suite 500
5                                                                                      Seattle, WA 98121
                                                                                        (206) 340-4856

1
           Case 2:21-cv-00754-MLP         Document 40       Filed 10/03/22      Page 12 of 24




1
    Her search was open to jobs in all industries, not just industrial services. She applied to both
    contract and full time opportunities. She did not decline any jobs based on salary. In Oct. 2021,
2   she accepted a contract opportunity as a Resource Professional for Abbott at $30/hr.

3
    INTERROGATORY NO.7:                Please state with specificity all damages (including, without
    limitation, economic and non-economic damages) you are claiming in this lawsuit.
4
    ANSWER:
5
            Plaintiff seeks compensatory damages and punitive damages. The compensatory
6   damages include special damages for back pay and the value of lost health benefits, and general
    damages for emotional distress.
            Defendant paid Plaintiff a salary of $100,000/year. Defendant terminated Plaintiff’s
7   employment on December 8, 2020.
            Defendant hired Nicole Norris—an external candidate—on January 15, 2020. It is
8   believed she began work on or about February 17, 2020. Ms. Norris was paid a salary of
    $134,000, and was given a “sign on bonus” of $20,000. Plaintiff should have been hired into
9   this position. Therefore, Plaintiff calculates her back pay damages as beginning on February
    17, 2020.
            Plaintiff began employment paying more than $134,000/year on February 21, 2022.
1   Therefore, Plaintiff has two years of damages totaling $288,000 before factoring for interim
    earnings.
0           From February 17, 2020, until December 8, 2020, Plaintiff continued to work for
    Defendant at a salary of $100,000. During this 42-week period, Plaintiff earned an estimated
1   $80,770.
            From September 27, 2021, until February 18, 2022, Plaintiff worked as a contractor
    for Prokatchers LLC. She earned $14,400 in that role in calendar year 2021, and earned an
1   additional 10,027.50 in 2022.
            Accounting for the above interim earnings, Plaintiff’s back pay damages are
1   $182,802.50.
            Defendant offered Plaintiff a 401k with employer matching contributions. Plaintiff
2   does not currently have specific details for the 401k, but Plaintiff intends to claim the
    employer-match amount as damages.
            Damages for emotional distress cannot be calculated with precision.
1           Punitive damages are to be determined by the trier of fact.

3

1

4

1
    DEFENDANT’S FIRST SET OF INTERROGATORIES
    AND REQUESTS FOR PRODUCTION TO PLAINTIFF - 8                                   SEYFARTH SHAW LLP
5                                                                                   Attorneys at Law
                                                                                    999 Third Avenue
                                                                                        Suite 4700
                                                                                 Seattle, WA 98104-4041
                                                                                      (206) 946-4910
1   79036524v.1
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                         Exhibit C
                                                                                                    Page 5 of 5
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                                               4/9/2021 10:13 AM
Connie Rogers (4042716706)

  Its feast or famine around here. Last week was fairly quite. This week I have 5
  companies interested in me. The Easter Seals is last on my list because its temp, but
  they needs someone next week. The other 4 are perm roles and as you know they
  may or may not end up filling the role. I had one today set up to interview me and
  they called to say they had a former employee take the role.

                                               4/9/2021 10:14 AM
                                                                                      Nannette’s iPhone (+14259510818)

                                                                        I sort of like being Dennis' trophy wife,

                                4/9/2021 10:16 AM (Viewed 9/9/2021 2:12 PM)
Connie Rogers (4042716706)

  Enjoy it and find the right job when you want to return to the rat race.

                               11/5/2021 11:56 AM (Viewed 11/5/2021 2:02 PM)
Connie Rogers (4042716706)

  Hi Nanette, Just letting you know I have changed jobs. I am now at BlueLinx in
  Marietta. EA to the CFO. Hopefully we can catch up soon.

                                               11/5/2021 2:03 PM
                                                                                      Nannette’s iPhone (+14259510818)

                                     EA is where you need to be. I hope you and your boss are a good team

                                               11/5/2021 2:38 PM
Connie Rogers (4042716706)

  I believe we will be great together. She previously worked for GE, so we both have
  the same mindset.

                                              11/15/2021 12:59 PM
                                                                                      Nannette’s iPhone (+14259510818)

                                                                                           Can I call you later?

                              11/15/2021 12:59 PM (Viewed 11/15/2021 1:49 PM)
Connie Rogers (4042716706)

  Yes. Any time


   You have 46 total messages and 4 total images.




                                                                                                                BASA_000688
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs787000253981716... 2/19/2022
                                                                                                     Page 13 of 17
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Kim Hunt (7179198399)


  ៲
  ៱

                                                6/30/2021 12:31 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                 Actually I don’t care too much if I do or do not get a job. But, I’ll be open until
                                                                  September when my unemployment runs out

                                6/30/2021 12:32 PM (Viewed 6/30/2021 3:15 PM)
Kim Hunt (7179198399)

  Liked “Actually I don’t care too much if I do or do not get a job. But, I’ll be open until
  September when my unemployment runs out”

                                                 9/9/2021 2:06 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                       Hi your VM is full. Just an FYI, my attorney may call you

                                 9/9/2021 5:18 PM (Viewed 9/23/2021 9:25 AM)
Kim Hunt (7179198399)

  Ok

                                                9/28/2021 8:50 AM
                                                                                          Nannette’s iPhone (+14259510818)

                               Hi, could you call me when you have time? I wanted to get your insight on test
                               assessment data and using to target weaknesses - then decide if can provide
                         learning opportunities to overcome or something that should accept as weaknesses

                               10/19/2021 1:30 PM (Viewed 10/19/2021 1:31 PM)
Kim Hunt (7179198399)

  How is the job?

                                                10/19/2021 1:31 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                         I’m contracting for Abbott’s MSP Tapfin

                                                10/19/2021 1:32 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                                               Started 2 weeks ago

                                                10/19/2021 1:32 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                                                            It’s good

                                                10/19/2021 1:32 PM




                                                                                                                    BASA_000819
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs329565974709540... 2/19/2022
                                                                                                      Page 2 of 3
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                                                                                 Sure...just checking in with you

                                                  1/22/2021 8:03 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                     Am texting back and forth with Tiffany from VNDLY, can I reintroduce you to
                                                                 Shashank, their CEO. He knows a lot of people

                                    1/22/2021 8:59 AM (Viewed 1/22/2021 9:00 AM)
Thomas Yuhas (6308035737)

  Absolutely! Would love the opportunity to network with Shashank.

                                                  1/22/2021 9:02 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                                   Can you email me your resume? Nannettekbasa@gmail.com

                                    1/26/2021 7:40 AM (Viewed 1/26/2021 9:02 AM)
Thomas Yuhas (6308035737)

  Hey Nannett! Just sent over my resume. Looking forward to connecting with you a
  Shashank.

                                    1/26/2021 7:40 AM (Viewed 1/26/2021 9:02 AM)
Thomas Yuhas (6308035737)

  Does he have any work for you?

                                                  1/26/2021 9:41 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                 Short answer, no I didn't ask him for myself...and unemployment in the state of
                            Washington makes it relatively easy for me not to rush into something with the added
                                                                               benefit of being married to Dennis

                                                  3/30/2021 11:11 AM
Thomas Yuhas (6308035737)

  In a meeting. I'll call you back shortly

                                                  3/30/2021 11:12 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                                               Ok, just checking up on both of our mental health

                                                  3/30/2021 2:17 PM
                                                                                        Nannette’s iPhone (+14259510818)

                            When you do call me back...remind me. I have some suggestions for you on your job
                                                                                                      search

                                                   5/4/2021 9:52 AM
                                                                                        Nannette’s iPhone (+14259510818)




                                                                                                                  BASA_000874
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs140614421720085... 2/19/2022
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                         Exhibit D
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                                                                       Page 1
·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · FOR THE WESTERN DISTRICT OF WASHINGTON

·3· · · · · · · · · · · · · AT SEATTLE

·4

·5· ·NANNETTE BASA,· · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
·6· · · · · · · · · · ·Plaintiff,· · ·)
· · · · · · · · · · · · · · · · · · · )
·7· ·vs.· · · · · · · · · · · · · · · ) No. 2:21-cv-00754-MLP
· · · · · · · · · · · · · · · · · · · )
·8· ·BRAND SHARED SERVICES, LLC,· · · )
· · · · · · · · · · · · · · · · · · · )
·9· · · · · · · · · · Defendant.· · · )
· · ·_________________________________)
10

11

12

13

14· · · · · · ORAL VIDEO DEPOSITION OF MICHELLE ROMAN

15· · · · · · · · ·WEDNESDAY, SEPTEMBER 7, 2022

16

17

18

19· · · · · · ·THE ORAL VIDEO DEPOSITION OF MICHELLE ROMAN,

20· ·produced as a witness at the instance of the Plaintiff,

21· ·was taken in the above-styled and -numbered cause on the

22· ·7th day of September, 2022, from 9:01 a.m. to 11:36 a.m.

23· ·Pacific Time.· The court reporter was Nor Monroe,

24· ·Certified Court Reporter for the State of Washington.

25· ·All participants appeared via Zoom videoconference.


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                                                                       Page 2
·1· · · · · · · · · · · · · APPEARANCES

·2

·3· ·FOR PLAINTIFF

·4· · · · · · ·ALEX J. HIGGINS
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18· · · · · · ·Phone:· (206) 946-4978

19

20

21· ·ALSO PRESENT:

22· · · · · · ·(None)

23

24

25


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                                                                    Page 10
·1· ·Twice a day?· I mean, how -- how many times a day would
·2· ·you have texts about work?
·3· · · · A.· ·It wasn't often.· I -- it wasn't often.
·4· · · · Q.· ·So give me a -- give me sort of a weekly
·5· ·average or monthly average or something you can -- you
·6· ·can give me a --
·7· · · · · · ·(Simultaneous talking.)
·8· · · · A.· ·For work, I would say, you know, three/four
·9· ·times a week, maybe.
10· · · · Q.· ·Okay.· And what did you do with the phone when
11· ·you left Brand?
12· · · · A.· ·I returned the company asset.
13· · · · Q.· ·Did you ever search for text messages on your
14· ·phone concerning Nannette Basa?
15· · · · A.· ·Yes.
16· · · · Q.· ·When did you do that?
17· · · · A.· ·Couple of months ago.· I don't remember the
18· ·exact date, but it was a few months ago.
19· · · · Q.· ·And it was af- -- 'scuse me -- while you were
20· ·still working at Brand.
21· · · · A.· ·Correct.
22· · · · Q.· ·And you worked at Brand until August -- what
23· ·date in August did --
24· · · · · · ·(Simultaneous talking.)
25· · · · A.· ·Until July 15th.


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·1· · · · Q.· ·Oh, July 15th.· Excuse me.· Okay.
·2· · · · · · ·So it was sometime in June or July that you
·3· ·looked at your phone for text messages?
·4· · · · A.· ·No, that was b- -- before that.
·5· · · · Q.· ·Okay.
·6· · · · A.· ·It was earlier in the year.
·7· · · · Q.· ·Okay.· Earlier in the year.
·8· · · · A.· ·Mm-hmm.
·9· · · · Q.· ·And -- and did you find anything about
10· ·Nannette Basa?
11· · · · A.· ·I found a few things, and whatever I found I
12· ·turned over to legal counsel.
13· · · · Q.· ·Okay.· And that was counsel for Brand, who's
14· ·here at the deposition today.
15· · · · A.· ·Correct.
16· · · · Q.· ·And did you -- did you notice that some older
17· ·texts were, you know -- sort of had gone -- well, I'll
18· ·put it a different way.· Sorry.
19· · · · · · ·Did you have settings on your phone to get rid
20· ·of old text messages that were -- you know, after a year
21· ·or six months or 30 days or something like that?
22· · · · A.· ·I don't know that, 'cause I never configured
23· ·the phone specifically for that, so. . . .
24· · · · Q.· ·What's the oldest text messages you found when
25· ·you were searching earlier this year in 2022?


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·1· ·this may have been well before that, yeah.
·2· · · · Q.· ·Was there any other form of instant messaging
·3· ·at Brand used to communicate about business matters?
·4· · · · A.· ·Not that I'm aware of.
·5· · · · Q.· ·How often did you use this chat feature to
·6· ·communicate with others while you were at Brand?· Was
·7· ·this a daily thing?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Multiple times a day?
10· · · · A.· ·Yes.
11· · · · Q.· ·What -- why would you do it in a chat versus
12· ·an email?· What was the -- did you have a criteria in
13· ·mind for when you'd use one and not the other?
14· · · · A.· ·Yeah, yeah, when I w- -- had quick questions
15· ·or just needed a -- you know, to touch base with someone
16· ·very quickly, I would use chat.
17· · · · Q.· ·Okay.· All right.· Did you ever go back and
18· ·search your chat history like you ch- -- checked your
19· ·phone for text messages about Nannette Basa?
20· · · · A.· ·Yes, I did.
21· · · · Q.· ·Okay.· And was that, again, in early 2022?
22· · · · A.· ·I don't remember the timing, but it was ar- --
23· ·it was at the same time I would have done the phone.
24· · · · Q.· ·Okay.· So I can't really tell who's writing
25· ·what in this.· There's a -- there's something at the top


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